




NO. 07-02-0337-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MARCH 12, 2003



______________________________





ALAN ROYBAL SEPEDA, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B13712-0004; HONORABLE ED SELF, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

DISMISSAL

Following abatement of this appeal and remand of the cause to the trial court to determine whether appellant desired to prosecute his appeal and why he was being deprived of a reporter’s record, the trial court conducted a hearing and found that appellant no longer wished to continue the appeal. &nbsp;A motion to dismiss directed to this Court but mistakenly filed in the trial court was filed by appellant with supporting affidavits indicating his desire to withdraw his notice of appeal. &nbsp;Appellant’s intention being clear, we apply Rule 2 of the Texas Rules of Appellate Procedure to suspend the operation of Rule 42.2(a) which requires a request to withdraw a notice of appeal to be filed in this Court. &nbsp;No decision of this Court having been delivered, we dismiss the appeal and no motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice



Do not publish. &nbsp;&nbsp;&nbsp;


